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               SCHEDULE D
                                                                                     Case 0:23-cv-61233-JEM Document 5-6 Entered on FLSD Docket 07/05/2023 Page 2 of 21



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                                 Evidence Collection Report
   Page Title
   "smiley face sticker" Sticker for Sale by lorelaismith | Redbubble

   URL
   https://www.redbubble.com/i/sticker/smiley-face-sticker-by-lorelaismith/83995464.EJUG5

   Collection Date
   Fri, 21 Apr 2023 10:54:36 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   IXGsacVwAdh75uxcf8EqILgY7v7A0FC1DHupBfpgKYLHXhwZ5B1iH3ERt7sgToCFwOUMj4L+sEJEYFwC3BU5NAC/6KHVQvJM6WuAuiSqkErisugFWlnQd7Zp1t2906u7ZqSJOCXNsqA6C9hni9b89dZtW410zNUJ/vmRBWlDlZc=




                                                                                                            File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]smiley-face-sticker-by-lorelaismith[fs]83995464.EJUG5]]_Fri,-21-Apr-2023-10-54-36-GMT.pdf

   Hash (SHA256)
   0778f4ec0daeecdce0fde8487888a7f5be7c37a2465c1f2b7f189693f0a5c504

   Signature (PKCS#1v1.5)
ZA1Jv6YSgR0rkkeFczpS2pGrGl1rvAIHz9XcpQyBRBcMDswUnFXqurjqQSguwotoqFKocIMRxVFvoS9MF1OwZE8fHhBWn+5rHRSxl36U3sa5V5rKg9uTP+7OBO50sVVzgQ/Cdy8KwTITgSLVKqcGljaQ+UgKAGCRQuPT2lvRdbk=
                                                                                Case 0:23-cv-61233-JEM Document 5-6 Entered on FLSD Docket 07/05/2023 Page 3 of 21



                                                                                                                                                                                                     Investigator Name: Abtahi Rakin




                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Tue, 09 May 2023 12:43:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Abtahi Rakin

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   JsRixe2iLeuaBIfpHksulpBPkY7oObzvsFxwkZ5kXDvVVEi3xXNuJq4QEmOoP1w0uWrivDQ5fzIiQ1ezX1dOQEVtUuYAEzYPLOM2DUYuYDTJjk1kS3220c+TLBBGjLjnThNRn9ZDokSFqtL3ZCt750jIb
   +b4d5FBXS2XpxDP7nwqJsa8+qB7ln0x3Dt7NtuouAp9srxVx6dK90IsvrF95bvejWYXploGawBKsRyIGvRGM+Vc8EjZenes9Gt69pXQlkp9EC4l8ev1efJ1nIio42Uo+LKUtkkchFoEvP6gYiN9XvJjVw0eqoOY+5orQgBewhgmysAe/DZ3gNRPw8dZiw==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Tue,-09-May-2023-12-43-44-GMT.mhtml

   Hash (SHA256)
   641e539215d68ef4eac2132580228742563049b24dc37d435e5d7281518990c5

   Signature (PKCS#1v1.5)
FKWVYSEoZUMmuVVNM2x3tvkPTH2WZ6vmsLMVJRgolirswH5PNrbpP7DDGE/PnyNECS+G62vEyY0fcQwtpSWFP8ZodBNd8Tg9FAR3lOs17+EtRqZhYsdPn3KTxrFvMgEWUfwALW7DEBGYw2vVtKcFq1gphozGJ2jf5qef05cS+unah/sc/
VAdcFQk8zkcEogRTJ2U74PNyvN7LMWKLdcbylSR9mnIKsqbByM5zc2lI3Uiq5bdRQv1KHY55mYg36RABUPzUAnCs90uWseoIXhQklNtLDuYymZ76B4uZUwvCBWEg20OQkN+gqiKAcV+D2ttaKSj3TGiK2YHMV5k3DG+9Q==
                                                                                 Case 0:23-cv-61233-JEM Document 5-6 Entered on FLSD Docket 07/05/2023 Page 4 of 21



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   "pink smiley69" Sticker for Sale by 1111pm | Redbubble

   URL
   https://www.redbubble.com/i/sticker/pink-smiley69-by-1111pm/62150672.EJUG5

   Collection Date
   Mon, 24 Apr 2023 04:57:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   k0eQg1JJvBnQ+EN4vths/UaAfSa/TJVtYqIdsXpA7uO+8HaSpdSnhtYJmsHMdnaszgdG4x6gC1eTx8NyhkP28JfYPMwkWYlaoAIywLOm9KQf+ezn8GV+GSzd20KUPxhUw43+dKtjmqNBCMEbUURXLIqo1OcKrDNiMOc/xxkgk5M=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]pink-smiley69-by-1111pm[fs]62150672.EJUG5]]_Mon,-24-Apr-2023-04-57-37-GMT.pdf

   Hash (SHA256)
   0c72f05142aca8b0de52a5d8ab76ff6bbf4293942f3b30de2c1b2cba45de23a6

   Signature (PKCS#1v1.5)
rL0Fhz1bAjD/MGQCjAr/AHY9wVc72Ts0dOaSHKBCvg150PPIUNRVQlUVGyhJD5gEmTe4Ofb1VTcDXF5lEx5BeZCCIulMKqo0ZrG+WB0diyXMr0wSCov3JPb1IZXl+erWRZBrVo6/EGx00wtvgrnWP2G4j9wL/VwWfDycrQDTsTM=
                                                                                Case 0:23-cv-61233-JEM Document 5-6 Entered on FLSD Docket 07/05/2023 Page 5 of 21



                                                                                                                                                                                                           Investigator Name: Abtahi Rakin




                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Tue, 09 May 2023 19:32:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Abtahi Rakin

   IP Address
   27.147.190.179

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qOMZSRmPgj+HmBCvRHfW1vcPBFjqOuy9OfV7McXmqfiVJCMEPybLcDbWsLJ5MTMjp7J6c5qw6/vQUEOzixdmCarxv3yclpZ85io6XhWloJCLWkoV8OedBig7IoKoefg5cP2G7zSFodix2t5ldgPNAOaV167j3MQPTbvwFbTN3VQH5wXsf0sKJ/
   I8bXU/4+M5GoDQNoaLhmYeIqnnyTnVIaUGd5v60mDv6WHSuEFfSn5vCx2ntZXOAG7qB7W8XiISOT11mpTFLaKhbslIRDU0R9vRyDdvRA3JTUJsDlKXtd+sv23ASbhM6yMxTLcJOekoBlBNvIwXyPKO0YoxE337WA==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Tue,-09-May-2023-19-32-06-GMT.mhtml

   Hash (SHA256)
   8ccabe9f8a52fccf9eb4ef5d61528b64abb4515b5235be84ebbeb52c216e8960

   Signature (PKCS#1v1.5)
fFxRd4LTS9Xd3KwtH6xrCxr2dW7gBNHkVm1IIChp2c6FVocoP92erH7Om2ee6IBi8AvGFor37c879Olh8v5EIDqlydW/dj0vO1LPqIXakm2KYUWS4/wvxd0R3/e1N1E9v9MaMovptHUnomjrFHoBZcCZgY5FMZdK0moLuoA7IYwMzD3Nk55vwZHLocTg1H5emuSstNsE9OTwn0us/
rvYfA36OvWGXyMNgJTwaszaHPGif2cs+RFTCvIRPJm7kjdqipaug1gukLXMJUxxuKLqc0ZMxaHHx8WUvf2Xf81KhcyK9Rh8ndHzmHVesmAuF4FBkRbY8PFI4T0boCp7VYaXaw==
                                                                                   Case 0:23-cv-61233-JEM Document 5-6 Entered on FLSD Docket 07/05/2023 Page 6 of 21



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                                Evidence Collection Report
   Page Title
   "just smile - smiley emoji" Sticker for Sale by 360-DESIGN | Redbubble

   URL
   https://www.redbubble.com/i/sticker/just-smile-smiley-emoji-by-360-DESIGN/70051308.EJUG5

   Collection Date
   Fri, 21 Apr 2023 09:57:53 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   O2gPhdYSBkFlZnsGl0o/+ktGKy7Hp1vxTUhVwdZOOpZt3siBR4REYy3OlWWj0cIl6p85Od82ozFyT0vdtrp8Uufc2osF/ng+q3HOlK4wqGSlJL5Sz52Gbxjv5omlLZ96xyaRPTAvA9NzEk+gTqIXDLficYi5GOfW4S2QAfq1O3Q=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]just-smile-smiley-emoji-by-360-DESIGN[fs]70051308.EJUG5]]_Fri,-21-Apr-2023-09-57-53-GMT.pdf

   Hash (SHA256)
   36662db522f33f375ba1acd5a9c82c75cbfcc0768cb3f4f207b3383bdddc7677

   Signature (PKCS#1v1.5)
oYpOOJcB7Yd/sJCUVKgb0eofLIe2q4q85Fn2KQ+KXDrFSUJQxtd2KZh6qzpUsfAoCW1OuuKx23YT1hCAkh2DiPCrVi0KpBul9s1mCU7ZwU7ebF9X2er6XJvPEHv8FQbxeL5VdQAMIrIKa7puPj6m+/mW92Z3Y9tGhVrHjIHUQy4=
                                                                                Case 0:23-cv-61233-JEM Document 5-6 Entered on FLSD Docket 07/05/2023 Page 7 of 21



                                                                                                                                                                                                            Investigator Name: Abtahi Rakin




                                                                            Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Mon, 08 May 2023 14:41:45 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Abtahi Rakin

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   UKy+ae+dSOYE/iErLMkSlSsryxKKgWv4Ys7nrBm5MVnw0202likAL0GARqSoqBscuXIg1GCBq+skc3bBHVo630B4hzFTz2dQj2QyudNj9W3h0mtOPzHoSYnwNBamM/2aAxAk8poBkGEPHlgneM0NeKIiOsQEuUQiCwBFCnkyAS/KcvSfk9UbNPNkXPac/loPCrkAZtMeh9btSpu21z/PGgA
   +RIwfV9jXxAFAQrjbGtU9zvSyad+iUUyRMp16yXoY3dNM3tKU0kHky9bp4i8msO2iMneqILZWeSpfa5xU7emWY6eZY/oF/GRL5ZRJ/hivOVxBMij+kWgQdQ04vrp75A==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Mon,-08-May-2023-14-41-45-GMT.mhtml

   Hash (SHA256)
   4ae5bb23f67c7c9ee48aa79b90e83640ce1e136db76a5f5b1b72f473731596a9

   Signature (PKCS#1v1.5)
TmPRKYceVfTJdQ0BwJvrEox9nfvBHv0UHqYGm0mSKNEt/xjMN/qCL+p5ZuJFANCvJjtyaR/2eweHgj6VSsVtpfZrynnDCjr6nLxHe3LweDdptv8JtHfCP1FeJ5GSBW869btymiM3LL83rMMNNHRwTDOzxCTJWXMxiL0YdyJzsFbwiOUurhsCN1XTrXUt4Erk33meXprAeaVAKJ8/
Zy4sy1aIExDOL6wyZReYhb06Z7Wa7kAtigtFZjUFA7q0ycb1sb2XbPNr8sz2MwkXMEci9NwhW3iGJGLdpVTnANmv9xPQ6BvB+e+HrFqv0BPCHcPDFdw7BEJ96K/l8MV36oY9Zg==
                                                                                    Case 0:23-cv-61233-JEM Document 5-6 Entered on FLSD Docket 07/05/2023 Page 8 of 21



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                                                                                Evidence Collection Report
   Page Title
   "pink drippy smiley face " Sticker for Sale by abbyk20 | Redbubble

   URL
   https://www.redbubble.com/i/sticker/pink-drippy-smiley-face-by-abbyk20/71777087.EJUG5

   Collection Date
   Fri, 21 Apr 2023 10:58:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   rEv5hhwkM7fqj0w6c3et0Y4FBLStkkEE/m8QkblkXhCj+UXLgdJVPkTbE3loby1x3k/INI0i9NIJBmHJ5pZfPu4KMHovECIwmjgBoXAH+HUAhKs/EC2ffaD7BakmmvO6INMgOJs2bI0YafXkHK1w1ONjdDDmaug+eabIDTENAFs=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]pink-drippy-smiley-face-by-abbyk20[fs]71777087.EJUG5]]_Fri,-21-Apr-2023-10-58-43-GMT.pdf

   Hash (SHA256)
   4df306ef796e54df6639748d790d2e6f13f0028531bf2cfb257733433654dcfb

   Signature (PKCS#1v1.5)
H/QrSdUGrF3+ftBndzOoCrCgIuEOguRMrTPid1n5x5rGKFtEG4OwFH2o5bG1qemCAa9V5wn5u8rujYxqYliBsBlIMiswB6kS0SxZXYCUDvA4IZY3rT+AYhCbkwQ6DnvNl2sK8e5E+Us4wCnB+z2wy//yvgfF03n19ouRxf8xAdQ=
                                                                                Case 0:23-cv-61233-JEM Document 5-6 Entered on FLSD Docket 07/05/2023 Page 9 of 21



                                                                                                                                                                                                                   Investigator Name: Abtahi Rakin




                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Tue, 09 May 2023 15:48:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Abtahi Rakin

   IP Address
   27.147.190.179

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   HINz0pne3wpu+BJL4bvV8s77IRlDZrN0ZeQxttSHUQpOqrMyzamRv4dOCNsZFXbVSWL8EtouWEtnCK+iP0pCc9XRAhtTakdUi8PJjCCSGlx9xAO4USOMtXCHFG9YohRwJa0dGmCnac+akO8mNv+6yP7cbs/5BWRwj+ssQwVIAYL4DdlfwR/pRGJ/
   CvkgU6XoCD16O36glCXcfww9vsap3bDIdkVfKb07UIFm2Kq3LvWCkjLyhoDolT+sLW70Q9JIFY9TZrPUa1gCHeQHL7u/qhElR6YFiqgzVEyd+5cu1ncuyxKZfI6J/373ePB/ytHdZwrOF3bM6iTmUEjeD05GvA==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Tue,-09-May-2023-15-48-43-GMT.mhtml

   Hash (SHA256)
   777dc3b1c0c4d2cee9bea11ffbf801adcfa96dd89e75f08ad23323499e7cf597

   Signature (PKCS#1v1.5)
d1O9lYBEK9q28eHxj/7hKR98EIJkbYjh0/DfKL4LoeSKGay3Zt4VyfVOn6S0qFsx9sDiPzSstOR4oBl5nkRAFLtT6IFsFWwgIzQXoCOJXp3tEKvnekjVSKKjuoGpg2i9TWOkVwAE3rELOT4WJLWY3/9TzP1Lvzsifca4Ao2JHdYVe+XGde+1xsv+sZ/fs2v/ts1aIVpbIr/XSLX+KaAAC
+XRhTI7gncWrrmvYZW6exR/xFXHJoGxFKEmbbjR1mggMU1H/A92aULj4X8AQob88Yy0XBlL32djNZNWP4SrRTlnBimlzHwDa/ReqfNHDDEaHRDj2x41Pg12h0TXMzrorA==
                                                                                      Case 0:23-cv-61233-JEM Document 5-6 Entered on FLSD Docket 07/05/2023 Page 10 of 21



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                                                                                      Evidence Collection Report
   Page Title
   "trippy smiley face flower print" Sticker for Sale by abigailscherer | Redbubble

   URL
   https://www.redbubble.com/i/sticker/trippy-smiley-face-flower-print-by-abigailscherer/61786687.EJUG5

   Collection Date
   Thu, 27 Apr 2023 05:58:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   mWmXouv47tHFb8NAbhoB95C44yKotcPuvhlqOAtbXUPy73bC8mF15A7grCmNuUJxixgQqC+Yy7UUGEVM1jYkgWaXo0cbFLZ2yNK2AxpUNJCKDRGeGxnBGcK5PeQtmWyXIlTBGuueAY+7e4ZKjFpzTvZwVQSVRm8MZqhkko/sKug=




                                                                                                            File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]trippy-smiley-face-flower-print-by-abigailscherer[fs]61786687.EJUG5]]_Thu,-27-Apr-2023-05-58-38-GMT.pdf

   Hash (SHA256)
   3cd44b50ce9412f2c1b11e015ab7598094404ac0adc82e919ad909f88e60dcbd

   Signature (PKCS#1v1.5)
SQBLlG6ML/lffJSGjmGvOvIjm3RRFGCPJVd490hlxILrHObGs6qvGH0jDUG8CWUf6LZmm0KdFU7bHgOtIlll1lTUIb9rmznasNCOdapGbNO6L0dYlBaJ5ENia7EVS2yeClW/0IdbZ8TYA1aaH8thXeBW0Xz2Rn02y+tPqX5Rhk8=
                                                                                 Case 0:23-cv-61233-JEM Document 5-6 Entered on FLSD Docket 07/05/2023 Page 11 of 21



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                                                                              Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Fri, 02 Jun 2023 20:36:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:4451:4431:7900:1c5f:15b1:6be8:d8cd

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Gqold21RkFVRUtg/HMEQBA5fBhXrLVpws0x3VboG3QT54EIK4ama89ni2TSqBjGuZwbJT2gYzDJRUv7apwC6wmdrowswhtNnNxO4Mii3bCkOTuUpy1of/zLCW3G2i2YAlUgg302HkbYc0fZjsKR+qLFTqRHD8a3gG9uTrO8xzxcl2piSy1OCgQyy/
   yRM0dj9D29TTGqORXNDLXtYuMf5hF32YH983DkoIDXB+sqo0Xysivf8nCnA67ICmoEEg97C9aTpd75HTCa8NKSuT6PnzjxLckXkOPeG/B7TqtFfnlEcZmdP1Y2ON1xJFKPdo921FB6xQzERfKOOTcEEGIGWqQ==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Fri,-02-Jun-2023-20-36-26-GMT.mhtml

   Hash (SHA256)
   5dc8abf984b561436dbc97bc593bc86bf6e18b859ddb85083395477664cd829d

   Signature (PKCS#1v1.5)
RoZCytjk7Ug8y3wXMZhehBTOUJ3KF0/UiLDbrfGCgLF5HdBeq0VrIB8g4gUnKtqIMz3HEyXsk/o2lccMVL8V4IXyo2aWtlyl4vYeNipAR2vWge6dfp/fC67O4ci01iWs8xFMguL0c61syh+uXtws9GeORZmTsQIhD9VuO/P7Nabcj7KomIOj/4pwMuwN6aRk/
iqZCU62D1NFlDKoWu7c59IecZz4qjWZOvhOnfjXjZkNVyNQbaVZG0ukvUiqK8vRRT0iKMDQkJX4427B5uKuitGu4DvIaI9xdPuDp+RQ3ZBIF1ozbHcrGfqSh5Jy5GXH8a99TOy5gpZzeTsyNcoZEw==
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                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                                Evidence Collection Report
   Page Title
   "Smiley face logo " Sticker for Sale by Acapellah | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Smiley-face-logo-by-Acapellah/58726874.EJUG5

   Collection Date
   Fri, 21 Apr 2023 07:18:41 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   FhAZvarHSbnesD3oCpXcoSQ/XIdmd8sUdlUGG/RF75OPKXGYIEzTDbSzFM9fN3Hml5jBrFFimacan7RQVetYUWlcDPRNXdM+L7poztuV/ra0GmchR5LG6DpD2dVe9LoiudxGZI2si7ml6zK5jHcCa/Hc9vuUOItpnWOcgq6ufHw=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Smiley-face-logo-by-Acapellah[fs]58726874.EJUG5]]_Fri,-21-Apr-2023-07-18-41-GMT.pdf

   Hash (SHA256)
   522f5a8dfb81eb758195455bb62cca731829f35d3a942ddbecc6f66dfbf5879a

   Signature (PKCS#1v1.5)
coJC7njxXLwQ9LBeiseUOCfEE51PiWi/uPnZ+Q4MZ9bkq3oTiG/HJIyi3+m/QHi/E6ZZJ7jFstJFpAyjAXJgKin01wMXJaV0aSRRE5r2/dYO307+VDGcX7f+gPb5Y6Oir/GSx2qgVY/i42z9tzpafsNDb6L4QxxttXH+pz+MEc8=
                                                                                Case 0:23-cv-61233-JEM Document 5-6 Entered on FLSD Docket 07/05/2023 Page 13 of 21



                                                                                                                                                                                                             Investigator Name: Abtahi Rakin




                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Sat, 06 May 2023 00:22:08 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Abtahi Rakin

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   fH361rtfOvyXliAhkuJ2w0hrHiJhRc2kSR4Pk1s4bAxg6Ipb9krRR5btVVG4A2RqWA7OsvTuA6FsD6ynNDmSfhV1NDKsCNgZut72FeeM5D+Qzu1iaki/Sms56qPmvcDNk+eF+FF3WKUPgEWlrJ/iNndbCwvLNqVzFpz6bjwU0K/4YMfceSAz/qf7o
   +Kl7htWEDrySQTRV0A0p5LHwZJMRSlafJFKETZTBEYojNa5fMyYtjGr/sQj2wQSWjKYEVMxmdz4w6DkUknUnHOq6Glt7oEag+byhI9Y3L/APK6at2SmZ0kXkBROdYHh4F/DlgwFTjdx5I1TBLjh62sPBpp5cA==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Sat,-06-May-2023-00-22-08-GMT.mhtml

   Hash (SHA256)
   e28e6f61c53bf3b09a9c70cd29e9c233f405e5020103fa3d5c3a5ff6257d9c3e

   Signature (PKCS#1v1.5)
NHv+uIXXmBgXIRfBHAGyUG2mNVj9KcJ4uL9LIuBt46TMfn2wEVgJLLdwqHrvke9geeCjptoMjCXjd8anve4yBSiwNE7aAg3udhbM50fqVcNf6mNEwtjkdsG0CF9mgIoxLPpgljvdqZzvbd4CYx8kc48RVpgU8pgQzGSD2ec1KFgxEJIlN7yaDcRkLzE2yyN8Nsa8RX56CW3RQb+PNpvJgskO53x2/
BuW80Y0kl/I/uyNygBKSZCM+ta34kGT8fGR8x7Um/YziYD6W4O69TmbtIICcswR97lcXjxtDMBi0gT6VsWY7JymL0jVgYb9fADsFXGbooz6lj71RdGQZ+9vOg==
                                                                                  Case 0:23-cv-61233-JEM Document 5-6 Entered on FLSD Docket 07/05/2023 Page 14 of 21



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                                 Evidence Collection Report
   Page Title
   "Acid Smiley Face - Small Text" Sticker for Sale by AcidDesigns | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Acid-Smiley-Face-Small-Text-by-AcidDesigns/60389419.EJUG5

   Collection Date
   Fri, 21 Apr 2023 06:50:16 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Mj9ImsoEBlktlb9DJUEZd/rNsv8x1e7rcR1CwJEMgtBkwCZ8H1jJkRrjy2NPoOjViq1TkVIgOdOUbBCnuIn3Bb5HTDsMALkrtYP2uvRed+f0C9wnTP++3+RxuRpuqJ+lxoQAaLwBJe8m1Pp6O4/zzTf/avO7JMkB0NZ1Xb8Qxb0=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Acid-Smiley-Face-Small-Text-by-AcidDesigns[fs]60389419.EJUG5]]_Fri,-21-Apr-2023-06-50-16-GMT.pdf

   Hash (SHA256)
   013847a77bdfe273d3999c421552dbe4401bbfbfbd458aa381a7c511eca9de56

   Signature (PKCS#1v1.5)
eKzcldCJBHi0RchZagtsdM1E5Px6ggoBdOgMGmHRNMtN8BAv2yPqOPUvnEW+FCbD7nCylGfCxeYPTilOpbcW3V1rW3nbTPuJnE/YdvTCr/UKLcM0gBm+c/ZUCZT9KK/ZZzAnOlE5eNYxsVHrKpZs7+n+D1p40/BiUCH9Sf6Z8Rw=
                                                                                Case 0:23-cv-61233-JEM Document 5-6 Entered on FLSD Docket 07/05/2023 Page 15 of 21



                                                                                                                                                                                           Investigator Name: Abtahi Rakin




                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Fri, 05 May 2023 17:31:09 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Abtahi Rakin

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   dWvjyq4Rzfi896eu+H2EVlOLCitMCOymUXDPW1UAR0gLyIh4ojg6wPQyJBfGr2Opc3SBuvDBIoTonfyB2RMDjv41Gu0i+n2IiqKD76mMeBJGwesoGUiNvbQm1gcsoKjjVc0L9fvWufoSXuy2QHHoQ0bMx2WvMeClr2YLcn4igu
   +qRRPAnLKmGflSBKVG7Drl9xu9J50pfGKbogYZxO2iszTVghaaMOM1utZjhYGwXCAWs40L1OroizAzQIDdi4kn/PiB7Q30RaIDJcjNCjDzGWdlDuJ6d/RibBzqmVT76xiAolvy/dThgTuO6xiR+tcS0Ckg/6yMypbqJNBAO7FUQA==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Fri,-05-May-2023-17-31-09-GMT.mhtml

   Hash (SHA256)
   4eef30eb52f145c8dc3dee033568a0c7f65669746a8388ab4dc7b4a37722e33f

   Signature (PKCS#1v1.5)
Q4KHS3/cWC+JXqyBLSzGV5tsi7Wg+BLofY4RrIskd0DR/FqCOmShaIvcuBrcjEJH+x82u/28NMrxeXoj21aVcuWuyrVPg0bPiZfiaDIELeRmzK8fyMEKsy07OT0jxc5hBqxyFBMSY9OUt5TdePjZEoc1zvG6VjHz
+7a5wslOtzbhmmUNiJVcG1EIeONae0FvGQ58DB6AG7G12MUgkFM0Aa3LDVfPZzoNAtkIgjRgoIzS+Khy9E6qjMUI+L08Ll495RynU9Xx6ZAEpdHHPtTsg0nbhMwWcGLUSXIaJewbJimVDXT0T8RbotntFmd9GDnwnE6WcMhwp/tJVl4QfO9VOg==
                                                                                 Case 0:23-cv-61233-JEM Document 5-6 Entered on FLSD Docket 07/05/2023 Page 16 of 21



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   "Melting Smiley Face" Sticker for Sale by aekohnen | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Melting-Smiley-Face-by-aekohnen/43869629.EJUG5

   Collection Date
   Thu, 27 Apr 2023 08:25:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   CiG1QgVzFkfZH3/iirv9FhDCF/9Z0B08iNRCET1xFiaj4gXqpMAa7t2826aCkZiQ0rqU6iQrAkKGEkeNy8YPw1D0iirSFXbEfT8qUck1OkQG6cAqYvoEGhkziFKdXR0cY/XdMTzKOTmmQ7CI88uvjDaWvRHcIOAnUhE7p565i10=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Melting-Smiley-Face-by-aekohnen[fs]43869629.EJUG5]]_Thu,-27-Apr-2023-08-25-37-GMT.pdf

   Hash (SHA256)
   3da215d07a3a66bce86ec67d3fd48a3a12c328f75dcd6f31477a6de909c6a906

   Signature (PKCS#1v1.5)
HUJd+AmRSXKB1V4+F/T71w10tLE/ZI+Cas/ObCN/Fy9j/iXR2DBhrfmRhRX+Zdq+FvveQRVB2A0yhO6L+aKoMv7SNmji5NMHh/ASLv7pqgjITLDCsNDcp4Znv0qWY//gfACua+ujlrqnInDjsuVedFCSJrAaHlmgbJWW9pZ7mSA=
                                                                                Case 0:23-cv-61233-JEM Document 5-6 Entered on FLSD Docket 07/05/2023 Page 17 of 21



                                                                                                                                                                                                           Investigator Name: Remmel Jae Inabangan




                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Tue, 06 Jun 2023 19:57:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   112.200.70.8

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   z4i3SbZ1hv79QAk5B+KkAramnkZNPy0nDrZ1R0OsOsRfzUXi4S5KDPgmIy/3dn4N2lTnc8mmVzvLpxPLbtY88dAiIiHV1/X+NKdSxdPOY3LyVLPgPZTZnsnvO8jk5pcNch3Ly2gyh/1hjU2pPcTsWUbRftXRErzinzE27/OOIpKCzoss+a9/snX7Poo7lU175dIcUItjT/
   dsg2UxO1b4I1ecVNKKv7guRYe3cvSPoDxA4gON/V/abjq99zDABCRCXMomMs2T07VXNCvd3MxRJNUs3KiQm17BvotC5IspCcVwpSNzQDWvAHsASwGxX0a3bqoZHBjCsCIeJIFh7CasOw==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Tue,-06-Jun-2023-19-57-04-GMT.mhtml

   Hash (SHA256)
   fe3749bb43086f14f640156b2b25572deeeffb4e8585d0097c6d343c1decab21

   Signature (PKCS#1v1.5)
euorRmiu79ErhP5FCDHL5IN+yMTk+M2WEbsYi1nCYKtEHoOwRlcV4Ytuc2CFWuy7W6EEnOKHG+SI8UQzKzt0UTDVa0BGfji7WMtBnjgya6BJNupaccl+7KWGx3/tOGs8r1GhemAyWyAPn7r3qJZEVMNdgseLsvtb4gCGztp0Bh1MNU/gWZkxuNaltEA53Xdyv6/
WQwxjZ8qPK7QDskza5V0ylCTIW4Nd32MISQx4LXF6i/Tp6YwjfSZatbrJkOEwuHVQB3aQuTY513P9Y+Fw6G6Vi0WycgGpBQyZoDH0psQqa1KDF3RORzXBNI1yLVaanw2bGcA9vZ2kPnUrLKNvqQ==
                                                                                   Case 0:23-cv-61233-JEM Document 5-6 Entered on FLSD Docket 07/05/2023 Page 18 of 21



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                                                                                 Evidence Collection Report
   Page Title
   "Lost Distorted Smiley Face " Sticker for Sale by aholic-s | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Lost-Distorted-Smiley-Face-by-aholic-s/140314309.EJUG5

   Collection Date
   Fri, 21 Apr 2023 07:51:42 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ZW3c5qmHIXg+GBW2kXz40OM8eF3TTwksly3YNFs7kqU+ytzm5buimUIqtB08MIdKoD89sesvZra8IAcBHQ2aSv1mMvd6R0TgH64v6mLb9va8i1eUkcjBXaOYZqvlkzrATUIeEq5xoANOwTeL/ZYfDqtfCLa/fkXI8AsiSoa/zX4=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Lost-Distorted-Smiley-Face-by-aholic-s[fs]140314309.EJUG5]]_Fri,-21-Apr-2023-07-51-42-GMT.pdf

   Hash (SHA256)
   dcd4e124fd08c52098b40b4f990a9c23d41f6bb14d132493304c0d5678054e03

   Signature (PKCS#1v1.5)
E56AOIdv/hIHH2hHIexqimbFChb7rF8XpEeSyzuWzDtKpziPCBR5v8x4Xo2OhtXqwhAx6rDpT8a5T8JAlIvw5Cwvwy+11cgzlCoBFrA9kkLKJnXj5251zSh7E3z9MnYUODNnB7RQHV6P6xYf+d60vTzeKN/VcPQHiYRhJibTxK4=
                                                                                Case 0:23-cv-61233-JEM Document 5-6 Entered on FLSD Docket 07/05/2023 Page 19 of 21



                                                                                                                                                                                                            Investigator Name: Abtahi Rakin




                                                                             Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Sat, 06 May 2023 15:49:52 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Abtahi Rakin

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   gndL3eKMD80MSEzT1vCu75+WtxVWmTfRnDjqUAlEBW6lvGtCfHDizHeJUnta7JLoovzoCvuV6INNfaV+6mZ9RlJxOoAGwtNexytUUdjnwqUD/rJGQD5I1Nwftm8BZDJIMJwlUh3XkfpCMTe2OXDQF7qBszTWLPGGm7dP6RZ4KBB7gENCFFSsr6f63Ura2x3yor6xj0kHlbZrseDI4XtAxjO/
   OgtLRIT6ZsMmsJKOeyylWLjchZVvF62kAfr8+dMNw7aSXEq6P0cpHvdO7xfiQu0hHKDGtmZSm8hWToCgvadZOs6c+p8NEgDpF2D0lY6nPRFINHOdvsrBucdxB8wKtw==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Sat,-06-May-2023-15-49-52-GMT.mhtml

   Hash (SHA256)
   4ac8a44961d538991ddf8bdc42870116be813cc9b2dbcde9f44926de35bd6062

   Signature (PKCS#1v1.5)
e+ctbmdU9NTOrspJ/O3qrwm3LdvOvYgbZofa8vuF9naomu8craendpLILtZ6KYLLDTQLJGWC+LxmBm7nDXUQOsa5RT8gdGwhHqMXtOTvI0bclDDaa89jhPoDEM4zWI50gjl70vUUgIbeK2nTLgoeju3EkNx+teKTQvwoeSW5nKKBfshInws5Oww2o5iZ/+eZKk/6nXuNbAiZUJBqp7jX/
id5zg74QcD3KNrO+6dDmZO5yzvSErckipKzEfgUOLk0ciK0sLdXQrM2S2us1hLfZb/mt0vFgcU1/WFVDM1V9NmDO07TCyVEtvYsK53vXPocfrjTclIQ5a3QHPGxyORh1A==
                                                                                   Case 0:23-cv-61233-JEM Document 5-6 Entered on FLSD Docket 07/05/2023 Page 20 of 21



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                                                                                Evidence Collection Report
   Page Title
   "Smiley Face " Sticker for Sale by faithsshop | Redbubble

   URL
   https://www.redbubble.com/i/sticker/Smiley-Face-by-faithsshop/70152339.EJUG5

   Collection Date
   Fri, 21 Apr 2023 10:21:08 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   IdA4uKhAEiiu9f9hUjF1ZjWngTIF+jS4vvyI1PPBmDszCZGOt1Lkfcc7QHeGNIMPqrkH3GaA1o2EZXFtlGsR6N9bf/Ev0niYRNn4SNgtsKSuz4V7RhEuWezRIYqyZciMN7Ltv0s/tRJdT3I7UcsiLAJhDm1R34iywTlXoWqPhFU=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]i[fs]sticker[fs]Smiley-Face-by-faithsshop[fs]70152339.EJUG5]]_Fri,-21-Apr-2023-10-21-08-GMT.pdf

   Hash (SHA256)
   c3e058c21b6f9e994c6f43ac8c1d2da1a88323539229fe8f9da97f12e38cebf2

   Signature (PKCS#1v1.5)
XAwR3fcFVIhCxRkEwsvYrOvG1qvNvfMzcfLtpyxHYQhIuXg2sdsekhblFpf62Rue4RhZyAsW008WZqBee2lXRCtraTemG15O9MaQ5f3/Da2H8wwthlPUcKb8qBGDS2r9rze0ZJXDnuk1KBxmlOC7Dm0trB3iczsXhJNhGpCkUjo=
                                                                               Case 0:23-cv-61233-JEM Document 5-6 Entered on FLSD Docket 07/05/2023 Page 21 of 21



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                                                                            Evidence Collection Report
   Page Title
   Secure Checkout | Redbubble

   URL
   https://www.redbubble.com/check-out

   Collection Date
   Mon, 08 May 2023 19:11:28 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Abtahi Rakin

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   citWZVm2BRnuG+oNoT3gUNA7oVcPfV/NEc3hQKWq7nkTkqd5T7Z0EItLcrSEIb2oJLwa/y+fafehkkuG5BPQn/HRwglnMqxIHNTHauM6NTO85MqgRAL49Aj2wZXJbI48w4F8DX7//
   YVSDdbjnmjvPAHjQTWIpzfihFA10OTQi03AdNyFYwWThnyXSTigU8ecYtLYRruvwKcZNBvxmy30fkog2dvP9tWNcsduwCceSRKG8bNODCbgX/4fBxGD4DtflhNnW4EbIjcrzgdvPH7aGWulgxYyMZkkLOtxzzZDX2nmi/XlP3pxQPQ92TkPa/Td23oouAR6sKKXfeYBOUlHPQ==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.redbubble.com[fs]check-out]]_Mon,-08-May-2023-19-11-28-GMT.mhtml

   Hash (SHA256)
   e896d9a55e2cbb4df89f41384f3500eee1460885417b224d6d3a82724cf25fc9

   Signature (PKCS#1v1.5)
PiS9J6sQAhx7v1vD+5AdON5sdi8m3iuqbpYH0GDQxMKnS/Uoh/IRkTiLEUl5Rq0DIy8VKgYcSuHknJQGAiF4TdDoNXNy3kWwCy11la3ueb0PRc8Ws3MAqccvlpkIdUwbdl3WKhv72GzYRYEHJILAJywlDN58HqvAzfZNkxLv43/SzQ+OiprPn/LZR6ZAlKhQa3ZCL55N0ErGP+T9TtnRR73pWAx/
KBeoD5puWlPvyMu99X+TkTFMlAZ+vlSRbH2+xStrz1BLHp9bsmhYawzHcvZBQpc/SJx5EOcG3PEy66594yaqJ7JwlGhwoIvQKOhl4YlJmZ7NOsGwjuzJi7Lq8Q==
